Case 2:04-cr-20492-SH|\/| Document 20 Filed 05/20/05 Page 1 of 2 Page|D 27

 

 

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IN THE UNlTED sTATEs DISTRICT COURT _ g ' ' ""
FoR THE WESTERN DISTRICT oF TENNESSEE ' " p , , . ,
WESTERN DNISION
UNITED sTATEs OF AMERiCA,
vs NO. 04-20492-Ma

DAVID M. TATE,

Det`endant.

 

ORDER GRANTING MOTION FOR ADDITIONAL T[ME TO RESPOND

 

Before the court is the Govemment’s May 20, 2005 motion requesting an extension of
time within which to file a response to the defendant’s motion for bond, filed May 4, 2005.

For good cause shown, the motion is granted The Governrnent shall have additional
time to and including May 25, 2005 Within Which to file a response

n ls so 0RDERED this 'Jel¢~day OfMay, 2005.

.L/W”'%W

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 20 in
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Honorable Samuel Mays
US DISTRICT COURT

